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                 IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF MARYLAND



IN RE 2U, INC. SECURITIES CLASS Consolidated Case No. 8:19-cv-03455-TDC
ACTION




   DECLARATION OF JEREMY A. LIEBERMAN IN SUPPORT OF PLAINTIFFS’
   UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
        AND APPROVAL OF NOTICE TO THE SETTLEMENT CLASS
        Case 8:19-cv-03455-TDC Document 224-2 Filed 06/02/22 Page 2 of 2



       I, Jeremy A. Lieberman, hereby declare as follows:

       1.      I am a member of the Bar of the State of New York, and I am admitted pro hac

vice to appear before this Court in this action.

       2.      I am the managing partner of the law firm of Pomerantz LLP (“Pomerantz”),

Counsel for Lead Plaintiff and Lead Counsel for the proposed class. I submit this declaration in

support of Plaintiffs’ Unopposed Motion for Preliminary Approval of Settlement and Approval of

Notice to the Settlement Class.

       3.      Attached hereto are true and correct copies of the following exhibits.

       Exhibit 1:      Stipulation and Agreement of Settlement, dated May 31, 2022.

       Exhibit 2:      Firm resume of Pomerantz LLP.

       Exhibit 3:      Laarni T. Bulan and Laura E. Simmons, Securities Class Action
                       Settlements, 2021 Review and Analysis (Cornerstone Research 2022),
                       available              at              https://www.cornerstone.com/wp-
                       content/uploads/2022/03/Securities-Class-Action-Settlements-2021-
                       Review-and-Analysis.pdf.

       Exhibit 4:      2U, Inc., Annual Report (Form 10-K) (filed March 1, 2022).

       Exhibit 5:      2U, Inc., Quarterly Report (Form 10-Q) (filed May 10, 2022).

       Exhibit 6:      Curriculum vitae of Epiq Class Action & Claims Solutions, Inc.

       I declare under penalty of perjury pursuant to the laws of the United States of America

that the foregoing is true and correct.

       Executed on June 2, 2022.




                                                   /s/ Jeremy A. Lieberman_
                                                        Jeremy A. Lieberman




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